                    Case 22-17842-PDR            Doc 2291        Filed 11/21/23        Page 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION
                                          www.flsb.uscourts.gov

    In re:                                                                Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al., 1                                Case No.: 22-17842-PDR

             Debtors.                                                     (Jointly Administered)
                                                         /

                   NOTICE OF THE OCCURRENCE OF THE EFFECTIVE DATE
                    OF THE DEBTORS’ SECOND AMENDED JOINT PLAN OF
                         LIQUIDATION, DATED SEPTEMBER 15, 2023

TO ALL CREDITORS, EQUITY HOLDERS, AND OTHER PARTIES IN INTEREST:

           PLEASE TAKE NOTICE that on November 8, 2023, the United States Bankruptcy
Court for the Southern District of Florida (the “Bankruptcy Court”) entered an order [ECF No.
2258] (the “Confirmation Order”) (i) approving, on a final basis, the Second Amended Disclosure
Statement for Debtors’ Second Amended Joint Plan of Liquidation [ECF No. 1904] (the “Disclosure
Statement”); and (ii) confirming the Debtors’ Second Amended Joint Plan of Liquidation [ECF No.
1905], as supplemented by the (i) Notice of Filing Plan Supplement [ECF No. 2051], and (ii) Notice
of Filing Second Plan Supplement [ECF No. 2115] (together, the “Plan Supplement”, and,
collectively, as supplemented, the “Plan”).2

        PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
November 21, 2023.

           PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on
the Debtors, any holder of a Claim or Interests, and such holder’s successors and assigns, whether
or not the Claim or Interests of such holder is Impaired under the Plan, such holder receives or is
entitled to receive a distribution under or pursuant to the Plan, and whether or not such holder voted
to accept the Plan or was entitled to vote to accept the Plan.

          PLEASE TAKE FURTHER NOTICE that the failure in this notice to describe any
aspect of the Plan or the Confirmation Order shall not limit the effect or enforceability thereof in
any way, and that reference is made to the Plan and the Confirmation Order for a complete
description of the treatment of Claims and Interests, including without limitation the releases,
exculpations, and injunctions provided for in Article XII of the Plan and approved by the
Confirmation Order.



1
  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO
Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
(6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).

2
  Capitalized terms used in this notice and not otherwise defined herein shall have the meanings ascribed to such terms
in the Plan.
     12608683-2
               Case 22-17842-PDR        Doc 2291      Filed 11/21/23    Page 2 of 2


       PLEASE TAKE FURTHER NOTICE THAT ARTICLE XII OF THE PLAN
CONTAINS THIRD PARTY RELEASES, EXCULPATION, GATEKEEPER AND
INJUNCTION PROVISIONS ENJOINING CERTAIN CLAIMS AGAINST THIRD
PARTIES WHICH PROVISIONS BIND ALL PERSONS AND ENTITIES WHO DID NOT
OPT-OUT OF SUCH RELEASES.

          PLEASE TAKE FURTHER NOTICE that the Confirmation Order, the Disclosure
Statement, the Plan, and the related documents, are available on the Court’s website at
http://www.flsb.uscourts.gov. To access the Court’s website, you will need a PACER password
and login, which can be obtained at http://www.pacer.psc.uscourts.gov. Copies of the Confirmation
Order, the Disclosure Statement, the Plan, and the related documents may also be obtained free of
charge by visiting the website of Stretto, Inc., https://cases.stretto.com/VitalPharmaceuticals.

 Dated: November 21, 2023                            Respectfully submitted,
        Miami, Florida
                                                     /s/ Jordi Guso
 George A. Davis (admitted pro hac vice)             Jordi Guso
 Liza L. Burton (admitted pro hac vice)              Florida Bar No. 863580
 Jonathan J. Weichselbaum (admitted pro hac          Michael J. Niles
 vice)                                               Florida Bar No. 107203
 LATHAM & WATKINS LLP                                BERGER SINGERMAN LLP
 1271 Avenue of the Americas                         1450 Brickell Avenue, Suite 1900
 New York, NY 10020                                  Miami, FL 33131
 Telephone: (212) 906-1200                           Telephone: (305) 755-9500
 Email: george.davis@lw.com                          Email: jguso@bergersingerman.com
         Liza.burton@lw.com                                   mniles@bergersingerman.com
         jon.weichselbaum@lw.com
 – and –
 Andrew D. Sorkin (admitted pro hac vice)
 LATHAM & WATKINS LLP
 555 Eleventh Street, NW, Suite 1000
 Washington, D.C. 20004
 Telephone: (202) 637-2200
 Email: andrew.sorkin@lw.com

 – and –

 Joseph Celentino (admitted pro hac vice)
 LATHAM & WATKINS LLP
 330 North Wabash Avenue, Suite 2800
 Chicago, IL 60611
 Telephone: (312) 876-7700
 Email: joe.celentino@lw.com

                                 Counsel for Debtors-in-Possession




                                                 2
  12608683-2
